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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


             UNITED STATES OF AMERICA,             :
                                                   : CRIMINAL ACTION NO.
                                                   :
                     v.                            :
                                                   : 1:10-CR-0086-12-RWS-ECS
                                                   :
             WILLIAM ESPINOZA,                     :
                                                   :
                          Defendant.               :


                                       REPORT AND RECOMMENDATION
                                        OF THE MAGISTRATE JUDGE

                     This matter is before the Court on Defendant’s motions to

             suppress     statements,     [Doc.   399],   out   of   court   photographic

             identification, [Doc. 401], and evidence, [Doc. 400].            The motions

             came on for hearing on May 5, 2011, [Doc. 538]; the transcript was

             filed July 16, 2011, [Doc. 571], and the parties completed the

             briefing process with the filing of Defendant’s reply brief, [Doc.

             672].    The motions are now ready for a report and recommendation to

             the district judge.

                                                   I.
                                       Background and Contentions

                     As a preliminary matter, the Court notes that the motion to

             suppress statements, [Doc. 399], has been WITHDRAWN by Defendant and

             is no longer at issue.       See [Def.’s Br. at 6, Doc. 616] (“Defendant

             withdraws his motion to suppress statements.”).




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                  Defendant’s motion to suppress out of court identification

             seeks to suppress the identification of Defendant by Mr. Jayro

             Arango as the person who shot him in the stomach on July 20, 2008,

             outside the El Pueblito nightclub.         Defendant contends that the

             photographic lineup presented to Arango was unduly suggestive and

             his identification was otherwise unreliable.

                  Defendant’s    motion    to    suppress     evidence challenges the

             admissibility of evidence seized from Defendant’s residence on July

             24, 2012, shortly after Defendant had been arrested on an arrest

             warrant from Dekalb County.         The Government relies upon consent

             given by Defendant’s roommate, Mr. José Marvin, at the time of

             Defendant’s   arrest.   Defendant    argues    that   the   police   violated

             Georgia v. Randolph, 547 U.S. 103, 126 S.Ct. 1515 (2006), when they

             removed Defendant from the premises and thwarted his ability to

             object to the search.        Defendant also contends that Mr. Marvin

             lacked authority to consent to a search of Defendant’s side of the

             room and, more particularly, of Defendant’s suitcases on his side of

             the room.

                  The government opposes both motions. The government contends

             that the search of the residence was authorized by validly-obtained

             consent of Mr. Marvin and that the search was carried out within the

             scope of that consent.        As for the photo identification, the

             government argues that it was not unduly suggestive and that even if

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             it is assumed that the array was suggestive, the identification was

             nonetheless reliable.

                                                II.
                                         Findings of Fact

                    Detective Adam Tirado with the Dekalb County Police Gang Unit

             was assigned to investigate a shooting that occurred on July 20,

             2008, at the El Pueblito nightclub on Chamblee-Tucker Road in which

             the victim, Jayro Arrango-Sanchez, was shot in the stomach. (T. 6-

             8).1   Detective Tirado first met the victim at Grady Hospital where

             he obtained a statement. (T. 8). The victim reported that he became

             involved in an altercation inside the nightclub. (T. 8). Nightclub

             security kicked everybody out of the club who was involved in the

             altercation. (T. 8). Outside the club, the victim was approached by

             an Hispanic male who shot him and then ran to a car and drove away.

             (T. 8-9). The basic details were confirmed by Detective Tirado from

             a review of the security video camera at the nightclub. (T. 9, 41-

             44). The video showed an Hispanic male going to a car, retrieving a

             weapon, approaching the victim and firing a shot at him. (T. 8, 43-

             44).

                    At the nightclub, Detective Tirado met with the security guard

             and the manager. (T. 45-46). The security guard suggested that



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                     Citations to the transcript of the May 5, 2011, hearing
             found at [Doc. 571] are abbreviated as “(T. [page]).”

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             members of the gang MS-13 were involved. (T. 47). From that lead,

             Detective Tirado obtained the names of suspected MS-13 members. (T.

             48).   Using that information, he set up a photographic lineup that

             he presented to the victim. (T. 48).            Based on the victim’s

             identification from that lineup, Detective Tirado was able to obtain

             an arrest warrant for one Oscar Cruz, who the victim identified as

             one of his assailants in the nightclub altercation. (T. 48-49).

             Cruz was arrested and interviewed. (T. 49). Cruz in turn provided an

             alias for the person who he said was the shooter. (T. 51).             The

             alias led Detective Tirado to Defendant Espinoza. (T. 51). Tirado

             then prepared another photographic lineup which he presented to the

             victim. (T. 51).

                    Detective Tirado put together the photo lineup identified as

             Gov’t Ex. 3 from photographs in the jail tracking system. (T. 30).

             He   input   identifying   characteristics   including   height,   weight,

             ethnicity, Hispanic, thin, short haircut, and chose five photographs

             from the 500 or more produced by the system. (T. 31).         He inserted

             them in a manila folder along with a photo of Defendant and, on

             August 28, 2008, he presented the array to the victim at his

             residence after he had been released from hospital. (T. 32-33, 35-

             36). Detective Tirado also read an “admonition document” to the

             victim in Spanish. (T. 34); Gov’t Ex. 4.        Among other things, the

             admonition stated in bold: “The photographs may or may not contain

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             a    person   involved   in   the   incident   under   investigation.”      In

             addition, the admonition provided the following:

                     When you view the photographs, please remember to consider the
                     lighting and how it might affect the complexion of some
                     persons. Also, remember that hairstyles, clothing, facial hair
                     and other cosmetic features can be changed. Please disregard
                     the background scenery since photographs may come from
                     different places.

             Gov’t Ex. 4.

                     The victim immediately identified Espinoza as the man who shot

             him.     (T. 36-38, 51-52). In addition, Mr. Jayro Arrango signed and

             initialed both the admonition document, see Gov’t Ex. 4, and the

             document indicating his positive identification of Defendant. See

             Gov’t Ex. 5; (T. 34, 37). Based upon the identification, along with

             the review of the video tape, Detective Tirado was able to obtain an

             arrest warrant for Defendant Espinoza for the shooting. (T. 9, 41,

             54-55). Detective Tirado then proceeded to 1088 Singleton Valley

             Circle in Norcross (believed to be Defendant’s residence) with four

             detectives and six to seven uniformed police to execute the arrest

             warrant. (T. 11, 56-57). José Marvin answered the door when the

             officers knocked. (T. 12, 57). They addressed him in Spanish.             When

             they looked in the door, they could see Defendant Espinoza inside

             peeking out of a side door. (T. 12, 57). The officers entered to

             make the arrest. Defendant was arrested and detained. (T. 13).              He

             was handcuffed and brought to Detective Tirado to whom he gave a


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             false name. (T. 13, 59, 63).        He was then taken to a police vehicle

             where he acknowledged his true name as Espinoza. (T. 13, 63).

                    After Defendant was taken to the patrol car, Detective Tirado

             asked Marvin for consent to search. (T. 14).            Marvin had stated that

             he   was   the   lessee-renter     of   the   residence.   (T.   14).     Marvin

             consented    and   signed    a   written     consent   before   the   search   was

             conducted. (T. 15-16, 65, 70). No threats or promises were made to

             induce the consent. (T. 16).            Marvin stated that he shared a room

             with Espinoza and agreed to show the officers the room. (T. 68-69).

             The bedroom was normal-sized; it had twin beds, some space between;

             it was messy. (T. 68). Marvin showed the officers which side of the

             room he occupied and which was Defendant’s side. (T. 16, 69).                  In

             the area where Mr. Espinoza slept, on his side of the bed, the

             officers found a firearm and ammunition and seized them. (T. 17-18,

             28).    The gun was found amongst clothing Defendant had left in the

             open either on top of or near an open suitcase stacked in a corner.

             (T. 29).

                    Defendant remained in the patrol car while the search was

             conducted. (T. 72).         The officers could have asked Defendant for

             consent to search but did not do so. (T. 70). Detective Tirado

             testified that he did not put Defendant in the patrol car to avoid

             having to ask him to consent to search. (T. 17). Defendant never

             objected to the search. (T. 17). The entire event from first knock

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             to return to the station took from between one to two hours. (T.

             72).

                    After   the   search   was    completed,   Defendant   was    taken   to

             headquarters where Detective Tirado met Defendant in an interview

             room and interviewed him. (T. 19). He was interviewed in Spanish and

             he signed a Miranda2 waiver. (T. 19-22); Gov’t Ex. 2.          He then gave

             a statement. (T. 23-26); Gov’t Ex. 6. The voluntariness of the

             statement is no longer in issue as the motion to suppress statements

             has been expressly withdrawn by Defendant.          [Doc. 616 at 6].

                                                    III.
                                                 Discussion

             A. The Out of Court Identification by the Victim

                    A defendant has a due process right to exclude identification

             testimony that results from unnecessarily suggestive procedures that

             may lead to an irreparably mistaken identification.                 Stovall v.

             Denno, 388 U.S. 293, 301-02 (1967).          But an identification derived

             from unnecessarily suggestive procedures need not be excluded if,

             under the totality of the circumstances, the identification is

             reliable.      Manson v. Brathwaite, 432 U.S. 98, 114-116 (1977).

                    A two-step analysis is applied to determine the admissibility

             of identification testimony.          First, the defendant must show that

             the identification procedure was impermissibly suggestive.             Second,


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                        Miranda v. Arizona, 384 U.S. 436 (1966).

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             if impermissibly suggestive, the court must then determine, under

             the   totality    of   the   circumstances,     whether   the     testimony    was

             nevertheless reliable.          Neil v. Biggers, 409 U.S. 188, 198-99

             (1972); Cikora v. Dugger, 840 F.2d 893, 895 (11th Cir. 1988).                 Neil

             sets forth a series of factors to be considered in determining

             reliability.

                   In   this   case,   the   second   step   need   not   be    reached.    The

             procedures used for the identification of Defendant were not unduly

             or impermissibly suggestive.        The witness was not preconditioned or

             prompted to focus on any particular photograph.              He was not told

             that anyone in particular was in the photographs. He was admonished

             that the lineup might or might not contain a person involved in the

             incident.    He was advised to disregard background scenery since

             photographs can come from many places.

                   The lineup itself consisted of six pictures of Hispanic males

             of approximately the same age as Defendant with similar facial hair

             and haircuts. Nothing stands out that would suggest that one of the

             individuals as opposed to the others was probably the suspect.

             Defendant’s picture does not stand out “like a sore thumb,” as

             Defendant contends.          Although his complexion is darker than the

             others in the lineup, the admonition also warned the victim to

             consider lighting and how it might affect the complexion of some

             persons.    See   Gov’t Ex. 4.

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                  As   the   Eleventh   Circuit    recently   observed    in    a   similar

             situation:

                  Neither [Defendant’s] lighter complexion, which appears
                  attributable to lighting, nor the position of his
                  photograph in the array makes the photographic lineup
                  suggestive because all six men share ‘roughly the same
                  characteristics and features.’

             United States v. Daniels, No. 11-10988, 2012 WL 1192209, at *1 (11th

             Cir. Apr. 9, 2012) (quoting Cikora v. Dugger, 840 F.2d 893, 897

             (11th Cir. 1988). In this case, any complexion differences appear

             attributable to lighting, and “all six men share roughly the same

             characteristics    and   features.”   Id.    Moreover,      in    Cikora,   the

             Eleventh Circuit concluded that a lineup was not suggestive where

             the witnesses were told that the suspect was in the lineup. See

             Cikora, 840 F.2d at 896-97.      Thus, the fact that Detective Tirado

             told the victim that he might have a possible photograph of the

             shooter does not render this lineup impermissibly suggestive.

                  In short, the photo array and the procedures employed were

             fairly constructed and not unnecessarily suggestive.              Considering

             the totality of the circumstances, IT IS RECOMMENDED that the motion

             to suppress the out of court identification, [Doc. 401], be DENIED.3


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                     Even if the photo array were to be found unnecessarily
             suggestive, the undersigned would conclude that the identification
             was nonetheless reliable, after considering the Neil v. Biggers
             factors. The victim had several opportunities to see the shooter
             both during the altercation inside and when he approached him
             outside with the pistol and shot him.      According to Detective

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             B. The Search of Defendant’s Room

                  (1) Georgia v. Randolph, 547 U.S. 103 (2006).

                  Defendant first contends that the police violated Georgia v.

             Randolph, by removing Defendant from the premises in order to thwart

             his ability to object to the search.     In Randolph, the Supreme Court

             held “that a warrantless search of a shared dwelling for evidence

             over the express refusal of consent by a physically present resident

             cannot be justified as reasonable as to him on the basis of consent

             given to the police by another resident.” Randolph, 547 U.S. at 120.

             In so holding, the Court recognized that it was drawing a fine line.

             The Court noted that:

                  if a potential defendant with self-interest in objecting
                  is in fact at the door and objects, the co-tenant’s
                  permission does not suffice for a reasonable search,
                  whereas the potential objector, nearby but not invited to
                  take part in the threshold colloquy, loses out.

             Id. at 121. As the Court noted, this result obtains “[s]o long as

             there is no evidence that the police have removed the potentially




             Tirado, the victim immediately identified Defendant as his assailant
             and was very certain in his identification. (T. 26-37). Indeed, he
             became visibly emotional when he saw the photo he identified — “He
             was upset” and “his eyes got watery at that point.” (T. 38).
             Finally, the identification was made not long after the event — just
             over a month — when Defendant’s recollection presumably would have
             been still substantially undiminished by the passage of time. See
             United States v. Douglas, 489 F.3d 1117, 1127 (11th Cir. 2007)
             (identification reliable eight months after carjacking).

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             objecting tenant from the entrance for the sake of avoiding a

             possible objection.” Id.

                  In this case, there was no colloquy concerning consent at the

             “threshold,” since the officers entered without expressly asking for

             consent in order to arrest Defendant at his place of residence, as

             they were permitted to do with an arrest warrant.        See Steagald v.

             United States, 451 U.S. 204, 212 (1981); United States v. Bennett,

             555 F.3d 962 (11th Cir. 2009). Mr. Marvin’s consent was given later,

             after Defendant had been placed under arrest and detained in a

             patrol car. (T. 13-14).      There is no evidence that Mr. Marvin’s

             consent was not voluntary.

                  Neither is there any evidence that the officers put Defendant

             in the patrol car in order to thwart him from objecting to the

             search.   Detective Tyler expressly denied that he put Defendant in

             the car so that he would not have to ask him for consent. (T. 17).

             Indeed, Defendant appears to have been taken to the patrol car

             because he had been placed under arrest, presumably in accordance

             with the usual procedure when an arrest is made. See United States

             v. Matlock, 415 U.S. 164, 171, 179 (1974)(consent to search by third

             party with common authority or relationship to premises valid even

             though Defendant under arrest and held in patrol car nearby); see

             also Randolph, 547 U.S. at 121-122 (discussing Matlock).        And, even

             though Defendant was removed and put in the squad car, presumably he

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             would have had an idea that his room was being searched; yet he did

             not object at any time, either while he was in the house or while he

             was detained in the car. See United States v. Weeks, 442 F. App’x

             447, 454 (11th Cir. 2011) (concluding that Defendant was not a

             present and objecting party under Randolph where he “was within

             earshot of the apartment when he was removed from the apartment to

             the breezeway”).

                  Based upon the above analysis and discussion, the undersigned

             concludes that Defendant’s rights under Randolph were not violated.

                  (2) Authority to Consent

                  Defendant also challenges the search on the separate ground

             that Mr. Marvin did not have the authority to consent to the search

             of Defendant’s side of the room.        Furthermore, Defendant contends

             that, even if Mr. Marvin could consent generally to a search of the

             room, his authority did not extend to a search of Defendant’s

             suitcases, wherein he contends that the pistol and ammunition were

             found.

                  One “jealously and carefully drawn” exception to the rule

             prohibiting warrantless entry of a person’s house recognizes the

             validity of searches conducted with the voluntary consent of an

             individual possessing common authority over the premises. Randolph,

             547 U.S. at 109; Matlock, 415 U.S. at 171.          “‘Common authority’

             rests ‘on mutual use of the property by persons generally having

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             joint access or control for most purposes.’” Illinois v. Rodriguez,

             497   U.S.     177,     181      (1990)   (citation      omitted).      Moreover,    the

             exception for consent extends even to entries and searches with the

             permission         of   a   co-occupant     whom    the    police     reasonably,    but

             erroneously, believe to possess shared authority as an occupant.

             Rodriguez, 497 U.S. at 186; see also United States v. Brazel, 102

             F.3d 1120, 1148 (11th Cir. 1997).

                     The evidence in this case is that Mr. Marvin shared the same

             bedroom as Defendant and thus had unrestricted access to the room

             where the gun and ammunition were found.                  He led the officers to the

             room and acknowledged that he occupied one half of the room and

             Defendant the other half. (T. 69).                    Their beds were on opposite

             sides of the room, against the walls. (T. 66-69); Def.’s Ex. 1.                      Mr.

             Marvin also indicated to the officers that Defendant’s personal

             items       were   kept     on   Defendant’s      side   and   vice   versa,   but   the

             testimony also showed that the room was messy “with a bunch of

             scattered clothing and articles or items” on both sides. (T. 68).

             The pistol was found on Defendant’s side of the room near his bed

             under a pile of clothes stacked in a corner in the open. (T. 29).

             The clothes may or may not have been piled in an open suitcase; the

             record is not clear on this point. (T. 29).4


                     4
                    According to Detective Tirado’s Supplemental Report,
             photographs were taken of the bedroom and the location of the gun,

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                  It is undisputed that Mr. Marvin shared common authority over

             the bedroom such that he could consent to a search of the room.        See

             United States v. Bone, 433 F. App’x 831, 833 (11th Cir. 2011)

             (Defendant’s aunt who lived in apartment, paid rent and stored items

             in subject bedroom had authority to consent to search of bedroom).

             But common authority and joint access in a jointly occupied room may

             be limited.   For example, common authority and joint access may not

             authorize a third party to consent to a search of private containers

             within such a room.    See, e.g., United States v. Salinas-Cano, 959

             F.2d 861, 863 (10th Cir. 1992) (Defendant’s girlfriend did not have

             authority to consent to search of defendant’s closed but unlocked

             suitcase in her apartment); but see U.S. v. Young, 350 F.3d 1302,

             1308 (11th Cir. 2003) (“[A] third party has actual authority to

             consent to a search of a container if the owner of the container has

             expressly authorized the third party to give consent, or if the

             third party has mutual use of the container and joint access to or

             control over the container.”).       The extent of the authority can

             fairly be said to rest

                  on mutual use of the property by persons generally having
                  joint access or control for most purposes, so that it is
                  reasonable to recognize that any of the co-inhabitants has
                  the right to permit the inspection in his own right and



             see Gov’t Ex. 7, p. 8, but these photographs were not introduced
             into evidence at the hearing.

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                     that the others have assumed the risk that one of their
                     number might permit the common area to be searched.

             Matlock, 415 U.S. at 172 n.7.

                     In this case, despite the fact that the gun was found on

             Defendant’s side of the room in an area close to Defendant’s bed and

             possibly among a pile of clothes in an open suitcase, I conclude

             that Mr. Marvin had authority to consent to a search of that area.

             This is not a case involving a locked suitcase, or even a closed

             suitcase.     Whether the clothes were on the floor next to the

             suitcases or piled in an open suitcase, they were in the open and

             easily accessible to anyone with access to the room.        As the Court

             put it in Frazier v. Cupp, 394 U.S. 731, 740 (1969): “[Defendant],

             in allowing Rawls to use the bag and in leaving it in his house,

             must be taken to have assumed the risk that Rawls would allow

             someone else to look inside.”     The result should be the same here.

             Defendant shared the bedroom with Mr. Marvin, acceding to “joint

             access and control for most purposes.” Rodriguez, 497 U.S. at 181.

             Under these circumstances, Defendant assumed the risk that his

             roommate might permit the room to be searched and that the search

             might include the pile of clothes where the gun and ammunition were

             found. See Young, 350 F.3d at 1308 n.4 (citing Frazier, 394 U.S. at

             740).




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                  Based upon the above discussion and analysis, I conclude that

             the evidence should not be suppressed based upon lack of authority

             to consent by Mr. Marvin.

                                                IV.
                                            Conclusion

                  In conclusion, the undersigned RECOMMENDS that the motion to

             suppress the out of court identification [Doc. 401] be DENIED and

             that the motion to suppress evidence [Doc. 400] be DENIED.             The

             motion to suppress statements [Doc. 399] is WITHDRAWN.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned as to this defendant, it is

             therefore ORDERED that this defendant be and is hereby CERTIFIED as

             ready for trial.5

                  SO REPORTED AND RECOMMENDED, this 8th day of May, 2012.

                                                       s/ E. Clayton Scofield
                                                     E. CLAYTON SCOFIELD III
                                                     UNITED STATES MAGISTRATE JUDGE




                  5
                    This Court observes that this defendant has been indicted
             with additional defendants and that matters pertaining to such co-
             defendants are still pending. Pursuant to 18 U.S.C. §3161 (h)(7)
             (the Speedy Trial Act), the time for commencing the trial of these
             defendants may be stayed until such time as all defendants have
             been certified ready for trial. Hence, it is not necessary to place
             the above-named defendant’s case on the calendar for trial at this
             time.

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